 'AO 2458     Case     5:11-cr-50031-TLB
              (Rev. 06/05) Judgment in a Criminal Case Document 36           Filed 11/09/11 Page 1 of 7 PageID #: 79
               Sheet I



                                            UNITED STATES DISTRICT COURT
                         WESTERN                                     District of                              ARKANSAS
          UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                 v.
                  TYJUAN Y. COOPER                                           Case Number:                    5: 11 CR50031-002
                                                                             USMNumber:                      05301-010
                                                                             David L. Dunagin
                                                                             Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)            Two (2) of the Indictment on June 17, 2011

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                      Offense Ended

21 U.S.C. §§ 841(a)(l) &              Possession with Intent to Distribute Marijuana; Aiding and              01/0712011                  2
(b)(1)(D); 18 U.S.C. § 2              Abetting



       The defendant is sentenced as provided in pages 2 through             ----'-7__ ofthisjudgrnent, with the court considering the Sentencing
Guidelines as non-binding and advisory only.
D The defendant has been found not guilty on count(s)
D Count(s)                                                  Dis      D are dismissed on the motion of the United States.
               --------------------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            November 8 20 II
                                                                            Date of Imposition of Judgment


                                                                            I S I Jimm Larry Hendren
                                                                            Signature of Judge




                                                                            Honorable Jimm Larry Hendren, Chief United States District Judge
                                                                            Name and Title of Judge


                                                                            November 8 20II
                                                                            Date
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          Sheet 2 - Imprisonment

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DEFENDANT:                  TYJUAN Y. COOPER
CASE NUMBER:                5:11CR50031-002


                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:     time served. Defendant has been in custody since March 16, 2011, approximately 71h months.




      0   The court makes the following recommendations to the Bureau of Prisons:




      X The defendant is remanded to the custody of the United States Marshal.

      0 The defendant shall surrender to the United States Marshal for this district:
          0   a                              0 a.m.         0 p.m.         on
               -----------
          0 as notified by the United States Marshal.

      0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0   before 2 p.m. on

          0   as notified by the United States Marshal.

          0   as notified by the Probation or Pretrial Services Office.



                                                               RETURN
I have executed this judgment as follows:




          Defendant delivered                                                       to

at   -----------------------------, with a certified copy ofthisjudgment.



                                                                                              UNITED STATES MARSHAL



                                                                          By ----------~~~~~~~~-----
                                                                                   DEPUTY UNITED STATES MARSHAL
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
             Case
           Sheet      5:11-cr-50031-TLB
                 3 - Supervised Release               Document 36      Filed 11/09/11 Page 3 of 7 PageID #: 81
                                                                                                        Judgment-Page -"'-3- of             7
DEFENDANT:                  TYWAN Y. COOPER
CASE NUMBER:                5: 11 CR50031-002
                                                        SUPERVISED RELEASE
     Defend~t is_placed on superv!sed release for a term of:   two (2) years      which term shall commence immediately upon his
release from unpnsonment, and whtch shall be served under the following condttlons:




I. Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the probation office in the
district to which the defendant is released.

2. The defendant shall not commit another federal, state or local crime; the defendant shall be prohibited from possessing a firearm or any other
dangerous device; and the defendant shall not use, possess, or have anything at all to do with any controlled substance.

3. The defendant shall comply with the DNA collection provisions of 18 U.S.C. § 3583(d).

4. The defendant shall be required to comply with the mandatory drug testing provisions of 18 U.S.C. § 3583(d).

5. If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

6. The defendant shall comply with the Standard Conditions of Supervised Release as recommended by the United States Sentencing
Commission and as set out 6elow on this page of the judgment, as well as any additional conditions on the attached page.




                                       STANDARD CONDITIONS OF SUPERVISION
  I)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
       each month;
  3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)   the defendant shall support his or her dependents and meet other family responsibilities;
  5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
  6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled suostances, except as prescribed by a physician;
  8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)   the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person convicted of a
       felony, unless granted permission to do so by the probation officer;
 10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
 11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
 13)   the defendant shall - as directed by the probation officer -notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to conftrm
       the defendant's compliance with such notification requirement.
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
            Case
           Sheet 3C - 5:11-cr-50031-TLB
                       Supervised Release             Document 36     Filed 11/09/11 Page 4 of 7 PageID #: 82
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DEFENDANT:                TYJUAN Y. COOPER
CASE NUMBER:              5:11CR50031-002

                                         SPECIAL CONDITIONS OF SUPERVISION

1.   The defendant shall submit his person, residence, place of employment, and vehicle to a search conducted by the U.S. Probation
     Office at a reasonable time and in a reasonable manner based upon reasonable suspicion that a violation of any condition of
     supervised release might thereby be disclosed.
2.   The defendant shall submit to inpatient or outpatient substance abuse testing, evaluation, counseling, and/or treatment, as and if
     deemed necessary by the U.S. Probation Office.
AO 2458   (Rev. 06/05) Judgment in a Criminal Case
             Case
          Sheet       5:11-cr-50031-TLB
                5 - Criminal Monetary Penalties      Document 36         Filed 11/09/11 Page 5 of 7 PageID #: 83
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DEFENDANT:                       TYJUAN Y. COOPER
CASE NUMBER:                     5:11CR50031-002
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                       Fine                                  Restitution
TOTALS           $ 100.00                                          $ 1,000.00                            $ -0-



D The determination of restitution is deferred until
     after such determination.
                                                            --- . An Amended Judgment in a Criminal Case (AO 245C) will be entered

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
     the priori~ order or percentage payment column below. However, pursuant to 18 U.S. C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                     Restitution Ordered                     Priority or Percentage




                                                                           $ ______________~0~
 TOTALS                            $ ------------~0-

 D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

 D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived for the           X fine    D restitution.
      0    the interest requirement for the      0    fme      0   restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
 Septemoer 13, 1994, but before April23, 1996.
AO 245B     (Rev. 06/05) Judgment in a Criminal Case
              Case
            Sheet      5:11-cr-50031-TLB
                  6- Schedule  of Payments             Document 36        Filed 11/09/11 Page 6 of 7 PageID #: 84
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DEFENDANT:                   TYJUAN Y. COOPER
CASE NUMBER:                 5: 11 CR50031-002

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X     Lump sum payment of$            1,100.00           due immediately, balance due

           D     not later than - - - - - - - - - - , or
           X     in accordance     D C, D D, D E, or                        X F below; or
B    D Payment to begin immediately (may be combined with                 oc,         D D, or      D F below); or
C    D Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
          - - - - - (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           After imprisonment, an_y unpaid financial penalty shall become a special condition of supervised release and may be paid in monthly
           installments at a rate of$100.00 or 10% ofthe defendant's net monthly household income, whichever is greater, witli the entire
           balance to be paid in full one month prior to the end of the 2-year period of supervised release.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througli the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payrpents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
AO 2458    (Rev. 06/05) Judgment in a Criminal Case
             Case
           Sheet       5:11-cr-50031-TLB
                 7 - Denial of Federal Benefits       Document 36       Filed 11/09/11 Page 7 of 7 PageID #: 85
                                                                                                    Judgment - Page _.:..7_ of        7
DEFENDANT:                  TYWAN Y. COOPER
CASE NUMBER:                5: 11 CR50031-002
                                                 DENIAL OF FEDERAL BENEFITS
                                      (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

     IT IS ORDERED that the defendant shall be:

X    ineligible for all federal benefits for a period of               ten (10) years

0    ineligible for the following federal benefits for a period of
    (specify benefit(s))




                                                                       OR
0   Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
    ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

    IT IS ORDERED that the defendant shall:

0   be ineligible for all federal benefits for a period of


0   be ineligible for the following federal benefits for a period of

    (specify benefit(s))




    0     successfully complete a drug testing and treatment program.

    0     perform community service, as specified in the probation and supervised release portion of this judgment.

          IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
          judgment as a requirement for the reinstatement of eligibility for federal benefits.



          Pursuant to 21 U.S.C. § 862(d), this denial offederal benefits does not include any retirement, welfare, Social Security, health,
disability1 veterans benefit, pu61ic housing, or other similar benefit, or any other benefit for which payments or services are required
for eligifnlity. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                             U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
